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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION
                            ___________

DENNIS J. WILLARD,

                  Plaintiff,                          Case No.
                                                      Hon.
vs.

HUNTINGTON FORD, INC.,
a Michigan corporation,

                  Defendant.
                                    /
Raymond J. Sterling (P34456)
Brian J. Farrar (P79404)
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                                   /

                COMPLAINT AND JURY DEMAND

      Plaintiff Dennis J. Willard, by his attorneys, Sterling Attorneys at Law,

P.C., for his Complaint and Jury Demand against defendant submits the

following:

                    JURISDICTIONAL ALLEGATIONS

      1.     This is an action for age discrimination in violation of the Age

Discrimination in Employment Act, 29 USC 623(a) et seq., and age

discrimination in violation of the Michigan Elliott-Larsen Civil Rights Act,
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MCL 37.2101 et seq., arising out of plaintiff’s employment relationship with

defendant.

        2.    Plaintiff is an individual residing in Almont, Michigan, within the

Eastern District of Michigan.

        3.    Defendant Huntington Ford, Inc. (“Huntington”) is a Michigan

corporation that conducts business and maintains its principal place of business

in Rochester Hills, Michigan, within the Eastern District of Michigan.

        4.    Defendant Huntington is an employer as defined by the Age

Discrimination in Employment Act, 29 USC 623(a), et seq., and the Elliott-

Larsen Civil Rights Act (“Elliott-Larsen”), MCL 37.2101 et seq.

        5.    This Court has federal question jurisdiction under 28 USC 1331

because this action arises under the laws of the United States.

        6.    This Court has supplemental jurisdiction over plaintiff’s state law

claims under 28 USC 1367(a).

        7.    Venue is proper in this district under 28 USC 1391(a)(2) and (b)(2)

because a substantial part of the events giving rise to this claim occurred in this

judicial district.

        8.    Plaintiff timely files this complaint within 90 days of receiving his

EEOC right to sue notice, which was mailed to him on or about November 1,

2017.



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                         GENERAL ALLEGATIONS

                     Plaintiff was one of the oldest and
                     most successful new car salespeople

      9.    Plaintiff was born in 1953; he is 64 years old.

      10.   In February 2005, defendant hired plaintiff as a new car salesperson.

      11.   Throughout his employment with defendant, plaintiff performed his

job duties in a manner that was satisfactory or better.

      12.   During each of the last 10 years of his employment with defendant,

plaintiff sold the second most new cars out of approximately 22 salespeople.

      13.   Ford Motor Company awarded plaintiff the prestigious Level 3

Award for excellent sales and customer service.

      14.   Plaintiff ranked in the top 100 nationally among Ford salespeople

based on his sales figures and customer satisfaction.

                       Despite his excellent performance
                     record, plaintiff is pressured to retire

      15.   In early 2016, several of plaintiff’s supervisors, including

defendant’s General Manager, Brad Schiller (“Schiller”) and defendant’s Sales

Manager, Eric Calhoun (“Calhoun”), started asking plaintiff when he was going

to retire and told him he was “too old,” to be working there.

      16.   During a discussion about getting financing for one of plaintiff’s

customers, Calhoun, told plaintiff he should retire because “not many



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dealerships are looking to hire a 65 year-old, over-the-hill salesman” like

plaintiff.

       17.     Calhoun said this in front of other employees who laughed at

plaintiff.

       18.     Defendant’s owner, Pat Scoggin, repeated the phrase “over the hill”

in reference to plaintiff on numerous occasions, and told plaintiff he should have

retired long ago.

       19.     After defendant’s managers started making these ageist remarks to

plaintiff, the managers stopped referring new customers to plaintiff.

       20.     The managers re-assigned several of plaintiff’s customers to younger

sales associates.

       21.     When plaintiff complained about this practice, Scoggin and Schiller

told plaintiff that they wanted “younger” associates to handle these customers

because the customers were younger and would relate better to a younger

salesperson.

       22.     When plaintiff reminded them that he had one of the highest

customer satisfaction ratings by Ford, they told him if he did not like it, he

should retire.

       23.     In early December 2016, Schiller told plaintiff that plaintiff should

not talk to new customers that walk into the showroom and should focus instead

on only selling to plaintiff’s current customers.

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      24.    When plaintiff questioned this policy, Schiller told plaintiff once

again that he wanted the “younger” sales associates interacting with the new

customers.

      25.    Approximately one week later, another Sales Manager, Tony

Malouf (“Malouf”), told plaintiff to move his desk from the front of the

showroom to the back so that plaintiff would be less visible to new customers.

      26.    Malouf told plaintiff that the new customers were younger and

would not like to see someone as old as plaintiff the moment they walk in.

      27.    Malouf told plaintiff that once plaintiff moved to the back of the

showroom he would assign plaintiff’s desk to another salesperson who was

approximately 20 years younger than plaintiff.

      28.    When plaintiff reminded Scoggin, Schiller, Calhoun, and Malouf of

plaintiff’s successful sales records, they ignored him.

                       When plaintiff refused to retire,
                    Huntington fired plaintiff due to his age

      29.    On or about December 21, 2016, Scoggin and Schiller pressured

another employee, who was younger than plaintiff, to file a false police report

stating that plaintiff had assaulted her.

      30.    Scoggin and Schiller knew that plaintiff had not assaulted anyone

when they told the other employee to file the report.

      31.    Scoggin suspended plaintiff and told plaintiff he should return to

work on December 28, 2016.
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      32.   Plaintiff stated that he had done nothing wrong and that he was

being targeted because of his age.

      33.   When plaintiff returned to work on December 28, 2016, he noticed

that his desk had been cleared out and all of his personal items were removed.

      34.   Defendant fired plaintiff on December 28, 2016 for allegedly not

showing up to work during the suspension period.

      35.   Defendant’s stated reason for termination was a pretext for age

discrimination.

      36.   Plaintiff subsequently filed a Charge of Discrimination with the

Equal Employment Opportunity Commission alleging that defendant

discriminated against him because of his age.

                                     COUNT I

                     AGE DISCRIMINATION – ADEA

      37.   Plaintiff incorporates the preceding paragraphs by reference.

      38.   The ADEA prohibits discrimination on the basis of age.

      39.   Defendant treated younger employees more favorably than plaintiff.

      40.   Defendant’s decision to suspend and fire plaintiff, were based on

impermissible considerations of plaintiff’s age.

      41.   Defendant was predisposed to discriminate on the basis of age and

acted in accordance with that predisposition.



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      42.    Defendant’s actions were intentional and engaged in with willfully

reckless disregard for plaintiff’s rights.

      43.    As a direct and proximate result of defendant’s wrongful and

discriminatory treatment of plaintiff, he has suffered injuries and damages,

including but not limited to, loss of past, present, and future earnings and

earning capacity; loss of the value of fringe and pension benefits; mental and

emotional distress, including anxiety and mental anguish, humiliation and

embarrassment; and the loss of the ordinary pleasures of everyday life, including

the right to seek and pursue gainful occupation of choice.

                                     COUNT II

                AGE DISCRIMINATION IN VIOLATION
             OF THE ELLIOTT-LARSEN CIVIL RIGHTS ACT

      44.    Plaintiff incorporates the preceding paragraphs by reference.

      45.    Michigan’s Elliott-Larsen Civil Rights Act prohibits discrimination

on the basis of age.

      46.    Defendant treated younger employees more favorably than plaintiff.

      47.    Defendant’s decisions to suspend and fire plaintiff, were based on

impermissible considerations of plaintiff’s age.

      48.    Defendant was predisposed to discriminate on the basis of age and

acted in accordance with that predisposition.

      49.    Defendant’s actions were intentional and engaged in with reckless

disregard for plaintiff’s rights.
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      50.   As a direct and proximate result of defendant’s wrongful and

discriminatory treatment of plaintiff, he has suffered injuries and damages,

including but not limited to, loss of past, present, and future earnings and

earning capacity; loss of the value of fringe and pension benefits; mental and

emotional distress, including anxiety and mental anguish, humiliation and

embarrassment; and the loss of the ordinary pleasures of everyday life, including

the right to seek and pursue gainful occupation of choice.

      WHEREFORE, plaintiff respectfully requests that this Honorable Court

enter judgment against defendant, in whatever amount plaintiff is found to be

entitled, together with reinstatement, punitive damages, interest as an element

of damages, statutory interest, and attorney fees and costs.

                                 JURY DEMAND

      Plaintiff Dennis J. Willard, by his attorneys Sterling Attorneys at Law,

P.C., demands a trial by jury.

                                 Respectfully submitted,

                                 STERLING ATTORNEYS AT LAW, P.C.

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Dated: December 28, 2017


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